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                          UNITED STATES DISTRICT COURT FOR THE
                              SOUTHERN DISTRICT OF FLORIDA



  CLARENS DESROULEAUX,

           Plaintiff,

  vs.                                                        Case Number:

                                                             JURY TRIAL DEMANDED

  THE VILLAGE OF BISCAYNE PARK,
  a municipality of the State of Florida,
  CHIEF RAIMUNDO ATESIANO,
  OFFICER CHARLIE DAYOUB, and
  OFFICER GUILLERMO RAVELO,
  individually and in their official capacity.

        Defendants.
  _____________________________________/

                                                COMPLAINT
           THE PLAINTIFF, CLARENS DESROULEAUX (“DESROULEAUX”), by and
  through undersigned counsel, hereby sues Defendants, THE VILLAGE OF BISCAYNE
  PARK (“BISCAYNE PARK”), a municipality of the State of Florida, CHIEF RAIMUNDO
  ATESIANO, (“ATESIANO,”), OFFICER CHARLIE DAYOUB (“DAYOUB”), and
  OFFICER GUILLERMO RAVELO, (“RAVELO”) and alleges:

                                      JURISDICTION AND VENUE
        1. This action is brought pursuant to 42 U.S.C. §1983 to redress the deprivation, under color
           of law, of DESROULEAUX' rights as secured by the Constitution of the United States
           of America.
        2. This Court has jurisdiction over this case pursuant to 28 U.S.C. §1331.
        3. Venue is proper in this honorable Court under 28 U.S.C. § 1391(b) as the events giving
           rise to the claims asserted herein occurred in Miami-Dade County, Florida.




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                                                 THE PARTIES
     4.    CLARENS DESROULEAUX is a 41 years-old former resident of Miami-Dade
           County, Florida.       At the time DESROULEAUX was initially deprived of his
           Constitutional rights under color of law by the Defendants in this case by virtue of
           Defendants’ conspiracy to falsely arrest, maliciously prosecute, and falsely imprison
           him through racial profiling and under false pretenses, DESROULEAUX was 35
           years old. As a direct result of Defendants’ conspiracy to deprive DESROULEAUX
           of his civil rights, DESROULEAUX spent five (5) years in prison for crimes he did
           not commit.
     5.    Defendant, THE VILLAGE OF BISCAYNE PARK, is a municipality of the State
           of Florida located in Miami-Dade County, Florida that provided, among other
           services, a Police Department to protect its residents and visitors.                  Defendant,
           BISCAYNE PARK, employs or employed the Defendant police officers at all times
           material hereto.
     6.    At all times material hereto, Defendant, ATESIANO, was an employee of the
           Defendant, BISCAYNE PARK, and was the Chief of Police in Defendant,
           BISCAYNE PARK’s, Police Department. In this capacity, Defendant, ATESIANO,
           was the commander of the Co-Defendants, DAYOUB and RAVELO.
     7.    At all times material hereto, Defendant, DAYOUB, was a police officer and an
           employee of Co-Defendant, BISCAYNE PARK, or Defendant, BISCAYNE
           PARK’s, Police Department.
     8.    At all times material hereto, Defendant, RAVELO, was a police officer and an
           employee of Co-Defendant, BISCAYNE PARK, or Defendant, BISCAYNE
           PARK’s, Police Department.
     9.    DESROULEAUX is suing all of the foregoing Defendants in their individual
           capacities, and all acted under color of law and in the scope of their employment in
           engaging in the actions alleged in this Complaint.

                                           INTRODUCTION
     10.   In January of 2013 and continuing thereafter, several members of Defendant,
           BISCAYNE PARK’s, Police Department, led by Defendant, ATESIANO, and
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           carried out by individual BISCAYNE PARK police officers, engaged in a conspiracy
           to bolster their law enforcement careers by inflating statistics of their success in
           solving burglaries that were perpetrated in the Village of Biscayne Park, Florida.
     11.   To this end, Defendant, ATESIANO, ordered Defendant, BISCAYNE PARK,
           police officers, including, but not limited to, Defendant, DAYOUB, and Defendant,
           RAVELO, to arrest anyone who is black and has a criminal record in order to “solve”
           unsolved burglaries that occurred in the Village of Biscayne Park.
     12.   In furtherance of this conspiracy, in early 2013 Defendants DAYOUB and RAVELO
           without probable cause arrested DESROULEAUX for three unsolved burglaries that
           occurred in the Village of Biscayne Park.
     13.   Defendants, DAYOUB and RAVELO, arrested DESROULEAUX for the burglaries
           despite there being no evidence that DESROULEAUX had perpetrated the burglaries
           for which Defendants, DAYOUB and RAVELO, had arrested him.
     14.   Defendants, DAYOUB and DESROULEAUX, in furtherance of the conspiracy,
           filed fraudulent arrest affidavits through which they testified that there was probable
           cause to believe that DESROULEAUX had committed the burglaries for which they
           arrested him.
     15.   DESROULEAUX, who is black, and had a criminal record prior to the 2013 arrest
           effectuated by Defendants, DAYOUB and RAVELO, that is the subject of the instant
           lawsuit, fit the racial profile Defendant, ATESIANO, told Co-Defendants, DAYOUB
           and RAVELO, among others, to arrest and onto whom to pin the unsolved burglaries
           that occurred in the Village of Biscayne Park.
     16.   After    the    bogus    arrest,   Defendants,      DAYOUB         and    RAVELO,         coerced
           DESROULEAUX into confessing to the three burglaries in order to receive a shorter
           prison sentence.
     17.   Defendants, DAYOUB and RAVELO, did not videotape, or otherwise record or
           memorialize, DESROULEAUX’ confession to the three burglaries for which they
           arrested him.




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     18.   Despite not having video or audio evidence of DESROULEAUX’ confession,
           Defendants, DAYOUB and RAVELO, continued to maintain that DESROULEAUX
           had confessed to the burglaries for which they arrested DESROULEAUX.
     19.   In fact, Defendants, DAYOUB and RAVELO, testified in depositions that
           DESROULEAUX had confessed to these crimes.
     20.   As a result of the alleged confession, DESROULEAUX faced up to thirty (30) years
           in prison.
     21.   Facing the stark reality of thirty (30) years in prison for crimes he did not commit,
           DESROULEAUX pled guilty to crimes he did not commit and, as a result of his
           guilty plea, DESROULEAUX was sentenced to a five (5) year prison term.
     22.   DESROULEAUX served his prison term and was released from prison in 2017 into
           the custody of the U.S. Immigration and Customs Enforcement agents who deported
           DESROULEAUX to Haiti.
     23.   DESROULEAUX, who is a citizen of Haiti and was a Permanent Resident of the
           United States of America at the time of the bogus arrest and conviction, is still in
           Haiti and is not able to return to the United States of America as a result of his bogus
           arrest and conviction perpetrated by the Defendants in this case.
     24.   As a result of Defendant, BISCAYNE PARK’s, officers’ conspiracy to deprive him
           and other black people of their Constitutional rights and actions in furtherance
           thereof, DESROULEAUX spent five (5) years in prison and lost five (5) years of his
           life wrongfully incarcerated for crimes he did not commit.
     25.   While in prison for crimes he didn’t commit, DESROULEAUX suffered mental
           anguish, humiliation, pain and suffering and loss of enjoyment of life and was unable
           to earn a living.
     26.   Since being deported to Haiti, DESROULEAUX has not been able to earn the same
           wages in Haiti that he could earn in the United States of America.
     27.   Despite obtaining a confession and a guilty plea from DESROULEAUX under false
           pretenses, Defendant, ATESIANO, pointed to his department’s 100% burglary
           clearance rate in 2013 and 2014 to leaders of Defendant, BISCAYNE PARK, to
           demonstrate what a great job he was doing in order to further his career.

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     28.   The conspiracy to bolster their crime fighting record by framing black men with a
           criminal record for unsolved burglaries in the Village of Biscayne Park began to
           unravel shortly thereafter when police officers began writing letters to Defendant,
           BISCAYNE PARK’s, manager apprising him of the conspiracy.
     29.   In 2015, DESROULEAUX learned of the investigation into the conspiracy to pin
           unsolved burglaries on black people who had a criminal past and he filed a “motion to
           correct illegal sentence.”
     30.   On or about August 13, 2015, the Circuit Court for Miami-Dade County, Florida
           denied DESROULEAUX’ “motion to correct illegal sentence” and he served the rest
           of his prison term that arose from a coerced confession and a plea deal.
     31.   On or about August 10, 2018, Miami-Dade State Attorney’s office filed a motion to
           vacate the judgments and sentences of DESROULEAUX in which a Miami-Dade
           Assistant State Attorney wrote “It is this office’s position that the charges brought
           against Clarens Desrouleaux ...cannot be substantiated and require that the judgment
           and sentence be vacated.”
     32.   The Circuit Court granted the motion to vacate the judgments and sentences on
           August 10, 2018, one year after DESROULEAUX finished serving a five (5) year
           sentence for crimes he didn’t commit.
     33.   On June 7, 2018, the United States Attorney for the Southern District of Florida filed
           an indictment against Defendants, ATESIANO and DAYOUB, in which he laid out
           the charges of the conspiracy described herein as it pertained to another individual,
           known in the Indictment as “T.D.” who was framed by the Defendants, ATESIANO
           and DAYOUB. A copy of the indictment is attached hereto as Exhibit 1.
     34.   Count 1, of the June 7, 2018 indictment alleged “Conspiracy Against Rights” in
           which the United States of America laid out the case against Defendant, ATESIANO,
           Defendant, DAYOUB, and another co-conspirator, RAUL FERNANDEZ that they
           conspired to deprive citizens of their Constitutional rights under the color of law.
     35.   On or around July 27, 2018, the Unites States Attorney for the Southern District of
           Florida filed a broader indictment against Defendants, ATESIANO and DAYOUB,
           in which they laid out more charges of the alleged conspiracy described herein as it

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           pertained to another individual, known in the Indictment as “T.D.” who was framed
           by the Defendants, ATESIANO and DAYOUB.
     36.   On or about August 3, 2018, Defendant, DAYOUB, pled guilty to conspiracy charges
           contained in the indictment.         A copy of Defendant, DAYOUB,’s guilty plea is
           attached hereto as Exhibit 2.

                                       Defendants' Misconduct
     37.   Rather than performing the police work necessary to properly solve the burglaries in
           the Village of Biscayne Park, the Defendants instead conspired among themselves
           and with others to shortcut the process. Specifically, Defendants unjustly and without
           probable cause arrested DESROULEAUX and affirmatively framed him for a crime
           that they had no evidence he committed.
     38.   The Defendants illegally coerced a confession from DESROULEAUX that they did
           not record, or otherwise memorialize and then testified that DESROULEAUX
           confessed in deposition testimony.           The confession Defendants, DAYOUB and
           RAVELO, coerced from DESROULEAUX and other evidence they fabricated led
           to the arrest and incarceration which violated DESROULEAUX’ constitutional
           rights.
     39.   To the extent that DESROULEAUX confessed to the burglaries, the confession was
           obtained through coercion and unconstitutional tactics, including the threat of the
           potential imposition of a much longer prison term.
     40.   Defendant, BISCAYNE PARK, had an ongoing obligation to hire competent,
           diligent and law abiding officers to staff its police department as well as to properly
           train its officers and supervise them so that they enforce the law and maintain the
           peace without illegally infringing on the rights of the residents of BISCAYNE
           PARK or people visiting lawfully.

                                             Count I
                              42 U.S.C. § 1983-Due Process-Atesiano

     41.   Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     42.   As described more fully above, Defendant, ATESIANO, while acting individually,
           jointly, and in furtherance of this conspiracy, under color of law and within the scope
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             of    his    employment         with     Defendant,      BISCAYNE          PARK,         deprived
             DESROULEAUX of his Fifth and Fourteenth Amendment rights of due process, and
             his constitutional right to a fair trial.
     43.     In the manner described more fully above, the Defendant, ATESIANO, deliberately
             ordered the police officers of Defendant, BISCAYNE PARK, to fabricate false arrest
             reports, affidavits and other evidence of guilt against DESROULEAUX, thereby
             misleading and misdirecting the criminal prosecution of DESROULEAUX. Absent
             this egregious misconduct, the prosecution of DESROULEAUX could not and
             would not have been pursued.
     44.     Defendant, ATESIANO’s, misconduct also directly resulted in the unjust criminal
             conviction through his coerced guilty pleas of DESROULEAUX, thereby denying
             him his constitutional right to a fair trial, and a fair appeal thereof, in violation of the
             Due Process Clause of the Fifth and Fourteenth Amendment to the United States
             Constitution.
     45.     As a result of this violation of his constitutional right to a fair trial,
             DESROULEAUX suffered injuries, including, but not limited to, great mental
             anguish, emotional distress and humiliation, as is more fully alleged above.
     46.     The misconduct described in this Count was objectively unreasonable and was
             undertaken      intentionally     with      willful   indifference   to    DESROULEAUX’
             constitutional rights.
     47.     Defendant, BISCAYNE PARK, either knew about this misconduct on the part of
             Defendant, ATESIANO, or should have known about it.

     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, CHIEF RAIMUNDO
  ATESIANO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                                   Count II
                                    42 U.S.C. § 1983-False Arrest-Atesiano

     48.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.

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     49.     As described more fully above, Defendant, ATESIANO, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of their employment, caused DESROULEAUX, without probable cause, to be falsely
             arrested in violation of his Fourth Amendment right against unreasonable and seizure.
     50.     As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish, emotional distress and humiliation, as is more fully
             alleged above.
     51.     The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     52.     The misconduct described in this Count was undertaken pursuant to the policy of
             Defendant, BISCAYNE PARK, in the manner described more fully above.

     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, CHIEF RAIMUNDO
  ATESIANO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                             Count III
                           42 U.S.C. § 1983-False Imprisonment-Atesiano

     53.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     54.     As described more fully above, Defendant, ATESIANO, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of their employment, caused DESROULEAUX to be falsely imprisoned in violation
             of his Fourth Amendment right against unreasonable and seizure.
     55.     As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish, emotional distress and humiliation, as is more fully
             alleged above.
     56.     The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.

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     57.      The misconduct described in this Count was undertaken pursuant to the policy of
              Defendant, BISCAYNE PARK, in the manner described more fully above.

           WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, CHIEF RAIMUNDO
  ATESIANO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                               Count IV
                              42 U.S.C. § 1983-Equal Protection-Atesiano

     58.      Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     59.      As described more fully above, Defendant, ATESIANO, all while acting
              individually, jointly, and in furtherance of this conspiracy, under color of law and
              within the scope of their employment, denied DESROULEAUX equal protection of
              the law in violation of his constitutional rights based upon his race.
     60.      Specifically, this Defendant actively participated in, or personally caused, misconduct
              in terms of accusing black people, who did nothing more than enter the locale of
              Defendant, BISCAYNE PARK, with no evidence that they committed a crime to act
              in such a manner that was calculated to coerce confessions and secure unjust
              convictions.     Said misconduct was motivated by racial animus and constituted
              purposeful discrimination; it also affected black men in a grossly disproportionate
              manner vis-a-vis similarly-situated caucasian men.               The conspiracy to violate
              people’s civil rights based upon race under color of law is exactly what Defendants
              did to DESROULEAUX.
     61.      As a result of this violation, DESROULEAUX suffered injuries, including but not
              limited to great mental anguish and emotional distress, as is more fully alleged above.
     62.      The misconduct described in this Count was objectively unreasonable and was
              undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
              constitutional rights.




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     63.     The misconduct described in this Count was undertaken pursuant to the policy and
             practice of Defendant, BISCAYNE PARK, in the manner described more fully
             above.

     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, CHIEF RAIMUNDO
  ATESIANO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                                Count V
                                 42 U.S.C. § 1983-Due Process-Dayoub

     64.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     65.     As described more fully above, Defendant, DAYOUB, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of his employment with Defendant, BISCAYNE PARK, deprived DESROULEAUX
             of his Fifth and Fourteenth Amendment rights of due process, and his constitutional
             right to a fair trial.
     66.     In the manner described more fully above, Defendant, DAYOUB, deliberately
             fabricated false arrest reports and affidavits, thereby misleading and misdirecting the
             criminal prosecution of DESROULEAUX. Absent this misconduct, the prosecution
             of DESROULEAUX could not and would not have been pursued.
     67.     Defendant, DAYOUB’s, misconduct also directly resulted in the unjust criminal
             conviction through the coerced guilty pleas of DESROULEAUX, thereby denying
             him his constitutional right to a fair trial, and a fair appeal thereof, in violation of the
             Due Process Clause of the Fifth and Fourteenth Amendment to the United States
             Constitution.
     68.     As a result of this violation of his constitutional right to a fair trial,
             DESROULEAUX suffered injuries, including, but not limited to, great mental
             anguish, emotional distress and humiliation, as is more fully alleged above.




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     69.     The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     70.     The misconduct described in this Count was undertaken pursuant to the directive of
             Defendant, ATESIANO, and Defendant, BISCAYNE PARK, either knew about it, or
             should have known about it.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant OFFICER CHARLIE
  DAYOUB awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                              Count VI
                                42 U.S.C. § 1983-False Arrest-Dayoub

     71.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     72.     As described more fully above, Defendant, DAYOUB, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of their employment, caused DESROULEAUX, without probable cause, to be falsely
             arrested in violation of his Fourth Amendment right against unreasonable and seizure.
     73.     As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish, emotional distress and humiliation, as is more fully
             alleged above.
     74.     The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     75.     The misconduct described in this Count was undertaken pursuant to the policy and of
             Defendant, BISCAYNE PARK, in the manner described more fully above.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER CHARLIE
  DAYOUB, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.


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                                            Count VII
                           42 U.S.C. § 1983-False Imprisonment-Dayoub

     76.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     77.     As described more fully above, Defendant, DAYOUB, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of their employment, caused DESROULEAUX to be falsely imprisoned in violation
             of his Fourth Amendment right against unreasonable and seizure.
     78.     As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish, emotional distress and humiliation, as is more fully
             alleged above.
     79.     The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     80.     The misconduct described in this Count was undertaken pursuant to the policy of
             Defendant, BISCAYNE PARK, in the manner described more fully above.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER CHARLIE
  DAYOUB, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.
                                            Count VIII
                           42 U.S.C. § 1983-Coerced Confession-Dayoub

     81.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     82.     As    more      fully    described      above,     Defendant,      DAYOUB,         manipulated
             DESROULEAUX in an attempt to coerce him to confess to crimes he did not
             commit.
     83.     As a result of Defendant, DAYOUB’s, manipulation, DESROULEAUX suffered
             great mental anguish, humiliation, degradation, physical and emotional pain and
             suffering, and other consequential damages.
     84.     The misconduct described in this Count was undertaken with malice, willfulness, and
             reckless indifference to the rights of others.

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     85.      The misconduct described in this Count was also undertaken pursuant to the policy
              and practice of the Defendant, BISCAYNE PARK, in the manner described more
              fully above.
           WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER CHARLIE
  DAYOUB, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                              Count IX
                              42 U.S.C. § 1983-Equal Protection-Dayoub

     86.      Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     87.      As described more fully above, Defendant, DAYOUB, all while acting individually,
              jointly, and in furtherance of this conspiracy, under color of law and within the scope
              of their employment, denied DESROULEAUX equal protection of the law in
              violation of his constitutional rights based upon his race.
     88.      Specifically, this Defendant actively participated in, or personally caused, misconduct
              in terms of accusing black people, who did nothing more than enter the locale of
              Defendant, BISCAYNE PARK, with no evidence that they committed a crime to act
              in such a manner that was calculated to coerce confessions and secure unjust
              convictions.     Said misconduct was motivated by racial animus and constituted
              purposeful discrimination; it also affected black men in a grossly disproportionate
              manner vis-a-vis similarly-situated caucasian men.               The conspiracy to violate
              people’s civil rights based upon race under color of law is exactly what Defendants
              did to DESROULEAUX.
     89.      As a result of this violation, DESROULEAUX suffered injuries, including but not
              limited to great mental anguish and emotional distress, as is more fully alleged above.
     90.      The misconduct described in this Count was objectively unreasonable and was
              undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
              constitutional rights.
     91.      The misconduct described in this Count was undertaken pursuant to the policy and
              practice of Defendant, BISCAYNE PARK, in the manner described more fully above.
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     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, CHARLIE DAYOUB,
  awarding compensatory damages, costs, and attorneys' fees, along with punitive damages as well
  as any other relief this Court deems appropriate.
                                                Count X
                                  42 U.S.C. § 1983-Due Process-Ravelo

     92.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     93.     As described more fully above, Defendant, RAVELO, while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of his employment with Defendant, BISCAYNE PARK, deprived DESROULEAUX
             of his Fifth and Fourteenth Amendment rights of due process, and his constitutional
             right to a fair trial.
     94.     In the manner described more fully above, Defendant, RAVELO, deliberately
             fabricated false arrest reports and affidavits, thereby misleading and misdirecting the
             criminal prosecution of DESROULEAUX. Absent this misconduct, the prosecution
             of DESROULEAUX could not and would not have been pursued.
     95.     Defendant, RAVELO’s, misconduct also directly resulted in the unjust criminal
             conviction through the coerced guilty pleas of DESROULEAUX, thereby denying
             him his constitutional right to a fair trial, and a fair appeal thereof, in violation of the
             Due Process Clause of the Fifth and Fourteenth Amendment to the United States
             Constitution.
     96.     As a result of this violation of his constitutional right to a fair trial,
             DESROULEAUX suffered injuries, including, but not limited to, great mental
             anguish, emotional distress and humiliation, as is more fully alleged above.
     97.     The misconduct described in this Count was objectively unreasonable and was
             undertaken      intentionally     with   willful    indifference     to    DESROULEAUX’
             constitutional rights.
     98.     The misconduct described in this Count was undertaken pursuant to the directive of
             Defendant, ATESIANO, and Defendant, BISCAYNE PARK, either knew about it,
             or should have known about it.

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     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER GUILLERMO
  RAVELO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                                Count XI
                                  42 U.S.C. § 1983-False Arrest-Ravelo

     99.      Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     100.     As described more fully above, Defendant, RAVELO, while acting individually,
              jointly, and in furtherance of this conspiracy, under color of law and within the scope
              of their employment, caused DESROULEAUX, without probable cause, to be falsely
              arrested in violation of his Fourth Amendment right against unreasonable and seizure.
     101.     As a result of this violation, DESROULEAUX suffered injuries, including but not
              limited to great mental anguish, emotional distress and humiliation, as is more fully
              alleged above.
     102.     The misconduct described in this Count was objectively unreasonable and was
              undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
              constitutional rights.
     103.     The misconduct described in this Count was undertaken pursuant to the policy and of
              Defendant, BISCAYNE PARK, in the manner described more fully above.
           WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER GUILLERMO
  RAVELO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                              Count XII
                             42 U.S.C. § 1983-False Imprisonment-Ravelo

     104.     Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     105.     As described more fully above, Defendant, RAVELO, while acting individually,
              jointly, and in furtherance of this conspiracy, under color of law and within the scope



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             of their employment, caused DESROULEAUX to be falsely imprisoned in violation
             of his Fourth Amendment right against unreasonable and seizure.
     106.    As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish, emotional distress and humiliation, as is more fully
             alleged above.
     107.    The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     108.    The misconduct described in this Count was undertaken pursuant to the policy of
             Defendant, BISCAYNE PARK, in the manner described more fully above.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER GUILLERMO
  RAVELO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.
                                            Count XIII
                            42 U.S.C. § 1983-Coerced Confession-Ravelo

     109.    Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     110.    As    more      fully    described      above,     Defendant,      RAVELO,         manipulated
             DESROULEAUX in an attempt to coerce him to confess to crimes he did not
             commit.
     111.    As a result of Defendant, RAVELO’s, manipulation, DESROULEAUX suffered
             great mental anguish, humiliation, degradation, physical and emotional pain and
             suffering, and other consequential damages.
     112.    The misconduct described in this Count was undertaken with malice, willfulness, and
             reckless indifference to the rights of others.
     113.    The misconduct described in this Count was also undertaken pursuant to the policy
             and practice of the Defendant, BISCAYNE PARK, in the manner described more
             fully above.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendant, OFFICER GUILLERMO

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  RAVELO, awarding compensatory damages, costs, and attorneys' fees, along with punitive
  damages as well as any other relief this Court deems appropriate.

                                             Count XIV
                              42 U.S.C. § 1983-Equal Protection-Ravelo

     114.    Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     115.    As described more fully above, Defendant, RAVELO, all while acting individually,
             jointly, and in furtherance of this conspiracy, under color of law and within the scope
             of their employment, denied DESROULEAUX equal protection of the law in
             violation of his constitutional rights based upon his race.
     116.    Specifically, this Defendant actively participated in, or personally caused, misconduct
             in terms of accusing black people, who did nothing more than enter the locale of
             Defendant, BISCAYNE PARK, with no evidence that they committed a crime to act
             in such a manner that was calculated to coerce confessions and secure unjust
             convictions.     Said misconduct was motivated by racial animus and constituted
             purposeful discrimination; it also affected black men in a grossly disproportionate
             manner vis-a-vis similarly-situated caucasian men.               The conspiracy to violate
             people’s civil rights based upon race under color of law is exactly what Defendants
             did to DESROULEAUX.
     117.    As a result of this violation, DESROULEAUX suffered injuries, including but not
             limited to great mental anguish and emotional distress, as is more fully alleged above.
     118.    The misconduct described in this Count was objectively unreasonable and was
             undertaken     intentionally     with    willful    indifference     to    DESROULEAUX’
             constitutional rights.
     119.    The misconduct described in this Count was undertaken pursuant to the policy and
             practice of Defendant, BISCAYNE PARK, in the manner described more fully
             above.
         WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
     honorable Court enter judgment in his favor and against Defendant OFFICER
     GUILLERMO RAVELO awarding compensatory damages, costs, and attorneys' fees,
     along with punitive damages as well as any other relief this Court deems appropriate.
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                                         Count XV
            Section 1985(3) Conspiracy-Conspiracy to Deprive Constitutional Rights

     120.    Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     121.    As described more fully above, each of the Defendants conspired, directly or
             indirectly, for the purpose of depriving DESROULEAUX of Equal Protection of the
             law.
     122.    In so doing, Defendants took actions in furtherance of this conspiracy, causing injury
             including great mental anguish and emotional distress to DESROULEAUX.
     123.    The misconduct described in this Count was undertaken with malice, willfulness, and
             reckless indifference to the rights of others.
     124.    The misconduct described in this Count was undertaken pursuant to the policy and
             practice of Defendant, BISCAYNE PARK, in the manner described more fully in
             preceding paragraphs.
     WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendants, THE VILLAGE OF
  BISCAYNE PARK, A municipality of the State of Florida, CHIEF RAIMUNDO
  ATESIANO, OFFICER CHARLIE DAYOUB, and OFFICER GUILLERMO RAVELO
  awarding compensatory damages, costs, and attorneys' fees, along with punitive damages against
  each of the individual Defendants in their individual capacities, as well as any other relief this
  Court deems appropriate.
                                          Count XVI
                    Section 1983-Conspiracy to Deprive Constitutional Rights

     125.    Paragraphs 1-40 of this Complaint are incorporated as if restated fully herein.
     126.    Defendants, DAYOUB and RAVELO, pursuant to the edict of Defendant,
             ATESIANO, reached an agreement amongst themselves to frame DESROULEAUX
             for the unsolved burglaries, and to thereby deprive DESROULEAUX of his
             constitutional rights, all as described in the various Paragraphs of this Complaint.
     127.    In furtherance of the conspiracy, each of the coconspirators committed overt acts and
             was an otherwise willful participant in joint activity.



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     128.    As a direct and proximate result of the illicit prior agreement referenced above,
             DESROULEAUX’ rights were violated, and he suffered financial damages as he was
             incarcerated and was not able to work and provide for his family, as well as severe
             emotional distress and anguish, as is more fully alleged above.
     129.    The misconduct described in this Count was undertaken with malice, willfulness, and
             reckless indifference to the rights of others.
     130.    The misconduct described in this Count was undertaken pursuant to the policy and
             practice of Defendant, BISCAYNE PARK, in the manner described more fully in
             preceding paragraphs, and was tacitly ratified by policy-makers for the Village of
             Biscayne Park with final policymaking authority.
         WHEREFORE, Plaintiff, CLARENS DESROULEAUX, respectfully request that this
  honorable Court enter judgment in his favor and against Defendants, THE VILLAGE OF
  BISCAYNE PARK, A municipality of the State of Florida, CHIEF RAIMUNDO
  ATESIANO, OFFICER CHARLIE DAYOUB, and OFFICER GUILLERMO RAVELO
  awarding compensatory damages, costs, and attorneys' fees, along with punitive damages against
  each of the individual Defendants in their individual capacities, as well as any other relief this
  Court deems appropriate.
                                            JURY DEMAND
         Plaintiff, CLARENS DESROULEAUX, hereby demands a trial by jury pursuant to

  Federal Rule of Civil Procedure 38(b) on all issues so triable.


                            [CERTIFICATE OF SERVICE ON NEXT PAGE]




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                                  CERTIFICATE OF SERVICE

        Respectfully submitted this 13th day of September, 2018.


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